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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN




United States of America,

                                   Plaintiff,

v.                                                     Case No. 2:19−mj−30227−DUTY


Jarratt White, et al.,
                                   Defendant(s),




                          ORDER FOR DISMISSAL OF COMPLAINT

   This matter coming before the Court on the Government’s motion, with notice having been
provided to the defense, for the reasons stated in the Government’s motion, the Court grants
the Government leave to dismiss the complaint against Jarratt White.

   Accordingly, it is hereby ordered that the Complaint against Jarratt White be dismissed and
that the Appearance Bond, if any, and the Order Setting Conditions of Release be cancelled.




                                                   s/Anthony P. Patti
                                                   Anthony P. Patti
                                                   U.S. Magistrate Judge



                                      Certificate of Service
   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                                By: s/M Williams
                                                    Case Manager

Dated: February 9, 2020
